Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 1 of 51 Page ID #:153




    1   WANG, HARTMANN, GIBBS & CAULEY P.C.
        A Professional Law Corporation
    2   Jeffrey C. P. Wang (SBN: 144414)
        Jason B. Witten (SBN 220612)
    3   1301 Dove Street, Suite 1050
        Newport Beach, CA 92660
    4   Telephone: (949) 833-8483
    5   Facsimile: (949) 833-2281

    6   Attorneys for Plaintiffs

    7                      UNITED STATES DISTRICT COURT
    8                    CENTRAL DISTRICT OF CALIFORNIA
    9
   10   RICHARD GALLAGHER, an            Case No. CV 08-743 AJG (RNB)
        individual, and JOHANNA SANCHEZ,
   11   an individual,                   Honorable Judge Andrew J. Guilford
   12                        Plaintiffs,
   13                                              NOTICE OF MOTION AND
        vs.                                        LOCAL RULE 37-1 JOINT
   14                                              STIPULATION REGARDING
                                                   PLAINTIFFS’ MOTION TO
   15                                              COMPEL DEFENDANTS TO
        AMERICAN EXPRESS TRAVEL                    PRODUCE WITNESSES FOR
   16   RELATED SERVICES COMPANY, a                DEPOSITION AND FOR
        New York corporation;                      IMPOSITION OF SANCTIONS
   17   ABERCROMBIE & KENT, Inc., an
        Illinois corporation; and DOES 1-20,
   18   inclusive,,                                Hearing:
   19                                              Date: Tuesday, June 16, 2009
                           Defendants.             Time: 9:30 a.m.
   20
                                                   Dept. 6D
   21
   22                                              Discovery Cut-off: August 3, 2009
                                                   Final Pretrial Conference: October
   23                                              19, 2009
   24                                              Action Filed: May 23, 2008
                                                   Trial Date: November 3, 2009
   25
   26
   27
                                               i
   28
               NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
              PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                           DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 2 of 51 Page ID #:154




    1          TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF
    2   RECORD:
    3          PLEASE TAKE NOTICE that on Tuesday, June 16, 2009 at 9:30 a.m. in
    4   Courtroom 6D of the above-entitled court located at 411 West Fourth Street,
    5   Santa Ana, California 92701-4516, Plaintiffs RICHARD GALLAGHER AND
    6   JOHANNA SANCHEZ (“Plaintiffs”) will move this Court for an Order
    7   compelling Defendants AMERICAN EXPRESS TRAVEL RELATED
    8
        SERVICES COMPANY and ABERCROMBIE & KENT, INC. (“Defendants”)
    9
        to produce the following witnesses for deposition in the State of California:
   10
                   1. John Muchiri, General Manager of A&K;
   11
                   2. Ahmed Tawfeek, Senior Tour Coordinator of A&K;
   12
                   3. Mahmoud Hagag, Tour Coordinator of A&K;
   13
                   4. Hossam Kotb, Tour Coordinator of A&K;
   14
                   5. Unis (Eunice), tour guide of A&K1;
   15
                   6. John the Driver, tour guide of A&K2;
   16
                   7. Reuben Makau, Fleet Assistant of A&K;
   17
                   8. Cyrus Magu, Tour consultant of A&K;
   18
                   9. Amir Abdel Alim, Tour Consultant of A&K;
   19
                   10. Geoffrey Macharia, Division Manager of A&K;
   20
                   11. Fiby Youssif of A&K3;
   21
                   12. Jane Gano of A&K4;
   22
                   13. Julie Schwartz of A&K5;
   23
   24   1
          Official title presently unknown.
        2
   25     Official title presently unknown.
        3
          Official title presently unknown.
   26   4
          Official title presently unknown.
   27
                                                 ii
   28
              NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
             PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                          DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 3 of 51 Page ID #:155




    1              14. Susan Jaeger of A&K6;
    2              15. Luca Belipietro.7; and
    3              16. Martin the Airplane Pilot.8;
    4          Plaintiffs will further seek an Order for the imposition of the following
    5   Sanctions against Defendant:
    6              1. Evidentiary sanctions precluding Defendants from introducing at
    7                  trial, any testimony or evidence from the witnesses in Section I,
    8                  above, or those who are similarly situated, whom Defendants have
    9                  refused to produce for deposition;
   10              2. Evidentiary sanctions of a negative inference jury instruction for
   11                  Defendants’ refusal to produce those witnesses in Section I,
   12                  above, for deposition, such that any evidence those witnesses in
   13                  Section I could have provided would have been against
   14                  Defendants and would support Plaintiffs’ allegations;
   15              3. Monetary sanctions against Defendants in the amount of
   16                  $3,500.00, for Defendants’ failure to meet and confer in good
   17                  faith with Plaintiffs concerning the instant discovery dispute, and
   18                  for the refusal to produce the above-referenced witnesses for
   19                  deposition without substantial justification, pursuant to Federal
   20                  Rules     of     Civil   Procedure   Section   37(d)(1)(A)(i)   and
   21                  37(d)(1)(A)(i))
   22          This Motion to Compel is based upon this Notice of Motion, the attached
   23
   24   5
          Official title presently unknown.
        6
   25     Official title presently unknown.
        7
          Official title presently unknown.
   26   8
          Official title presently unknown.
   27
                                                   iii
   28
              NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
             PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                          DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 4 of 51 Page ID #:156




    1   Joint Stipulation Regarding Plaintiffs’ Motion to Compel, Memorandum of
    2   Points and Authorities, the Declarations of Richard Gallagher and Jason B.
    3   Witten with attached exhibits, the pleadings, papers and proceedings in this
    4   action, any oral argument or documentary evidence presented at the hearing of
    5   this matter.
    6         This Motion is made following the conference of counsel pursuant to
    7   Local Rule 37-1, which took place on May 1, 2009 regarding the issues relating
    8
        to the motion, and further communications between counsel.
    9
   10   Dated: May 26, 2009          WANG, HARTMAN, GIBBS & CAULEY, P.C.
                                     A Professional Law Corporation
   11
   12
   13                                  By: /s/Jason B. Witten
                                           Jeffrey C.P. Wang, Esq.
   14                                      Jason B. Witten, Esq.
   15                                      Attorneys for Plaintiffs
                                           RICHARD GALLAGHER and
   16                                      JOHANNA SANCHEZ

   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
                                              iv
   28
              NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
             PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                          DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 5 of 51 Page ID #:157




    1                            TABLE OF CONTENTS
    2
    3   I.     ISSUES IN DISPUTE…………………………………………………...1
    4             A. DEPOSITIONS OF WITNESSES IN EGYPT AND KENYA
    5                FOR WHICH NOTICES OF DEPOSITION HAVE BEEN
    6                SERVED………………………………………………………….1
    7             B. DEPOSITIONS OF A&K WITNESSES IN EGYPT AND
    8                KENYA FOR WHICH NOTICES HAVE NOT YET BEEN
    9                SERVED………………………………………………………....2
   10   II.    PARTIES’ CONTENTIONS……………………………………………3
   11   PLAINTIFFS’ INTRODUCTORY STATEMENT…………………………....3
   12   PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN
   13   SUPPORT OF MOTION TO COMPEL………………………….……………6
   14             A. BACKGROUND………………………………………………...6
   15                1.    Factual Background………….……………….……………6
   16                2.    Background of Discovery Dispute……………….………11
   17             B. IF DEFENDANTS HAVE CONTROL TO BRING THEM TO
   18                TRIAL, THEN THEY HAVE CONTROL TO BRING TO
   19                DEPOSITION. DEFENDANT A&K SHOULD BE
   20                COMPELLED TO PRODUCE ITS MANAGERS AND
   21                REPRESENTATIVES IN EGYPT AND KENYA FOR
   22                DEPOSITION WHO HAVE PERSONAL KNOWLEDGE OF
   23                THE TRANSACTIONS ALLEGED IN THE COMPLAINT….14
   24                1.    Defendants Should Be Compelled To Produce A&K’s
   25                      Employees Under Their Control That Have Personal
   26
   27
                                             v
   28
               NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
              PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                           DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 6 of 51 Page ID #:158




    1                    Knowledge Of The Events And Transactions Alleged In
    2                    The Complaint……………………………………………15
    3              2.    Notices Of Deposition Are Sufficient To Compel The
    4                    Attendance Of Those Witnesses Controlled By A&K...…17
    5           C. DEFENDANT         A&K        SHOULD        BE   COMPELLED    TO
    6              PRODUCE ITS MANAGERS AND REPRESENTATIVES IN
    7              EGYPT AND KENYA FOR DEPOSITION HERE IN THE
    8              UNITED STATES WHERE IT IS SAFE AND LEGAL TO DO
    9              SO………………………………………………………………20
   10             1.     Defendants Are Unable To Confirm And Ensure The Safety
   11                    Of Taking The Depositions Of The Above-Named
   12                    Witnesses         In        Either        Egypt   And/Or
   13                    Kenya………………………………….………………….21
   14             2.     The Taking Of Depositions In Either Egypt And Kenya
   15                    Would Be Perilous And Illegal For The Witnesses And For
   16                    The Parties……………..…………………………………21
   17                   a. Taking The Depositions In Either Kenya Or Egypt
   18                      Would Place The Physical Safety Of The Parties And
   19                      Witnesses At Substantial Risk………………………....21
   20                   b. The Parties Do Not Have A Cognizable Legal Basis
   21                      Upon Which To Rely To Take The Depositions In Kenya
   22                      Without Threat Of Incarceration………………………23
   23           D. DEFENDANT         A&K        SHOULD        BE   COMPELLED    TO
   24              PRODUCE ITS MANAGERS AND REPRESENTATIVES IN
   25              EGYPT AND KENYA FOR DEPOSITION HERE IN THE
   26
   27
                                                vi
   28
             NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
            PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                         DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 7 of 51 Page ID #:159




    1              UNITED     STATES     WHERE      DEFENDANTS          CONDUCT
    2              SUBSTANTIAL BUSINESS AND HAVE PURPOSEFULLY
    3              AVAILED      THEMSELVES        OF   THE     BENEFITS     AND
    4              PROTECTIONS OF THE SEVERAL STATES………………24
    5                 1.    The Court Has Discretion To Determine The
    6                       Proper Venue For Deposition………………………..24
    7                 2.    Defendants Solicited Plaintiffs In California And Have
    8                       Purposefully Availed Themselves Of The Benefits And
    9                       Protections Of Conducting Business In This State And
   10                       The Several United States……………………………25
   11                 3.    The Depositions Should Be Taken Here In California To
   12                       Secure A Prompt, Efficient And Effective Discovery
   13                       Process………………………………………………..27
   14           E. DEFENDANTS SHOULD BE SANCTIONED FOR THEIR
   15              FAILURE     TO    PRODUCE       THEIR     EMPLOYEES       FOR
   16              DEPOSITION AND TO ENGAGE PLAINTIFFS IN A
   17              MEANINGFUL         MEET       AND       CONFER       PROCESS
   18              REGARDING THE DISCOVERY DISPUTE……….…………29
   19   PLAINTIFFS’ CONCLUSION…………………………………….…………31
   20
   21   DEFENDANTS’ INTRODUCTORY STATEMENT………………………..31
   22   MEMORANDUM OF POINTS AND AUTHORITIES……………………..34
   23   I. INTRODUCTION…………...……………………………………………..34
   24           A. Factual Background….………………………………………….34
   25           B. Discovery Dispute………..……………………………………..34
   26
   27
                                           vii
   28
             NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
            PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                         DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 8 of 51 Page ID #:160




    1
    2                 1. The Subject Witnesses are Independent Contractors of
    3                     Abercrombie & Kent, Inc………………………………..34
    4                 2. Plaintiffs Improperly Seek to Compel the Depositions on
    5                    Non-Party Witnesses Who Reside in Egypt and Kenya….36
    6   II. ARGUMENT………………………..……………………………………..38
    7           A. Plaintiffs’ Cannot Compel Defendants to Produce the
    8               Depositions of Non-Party Witnesses Employed by Independent
    9              Contractors………………………………………………………38
   10           B. Plaintiffs Have Failed to Properly Notice the Deposition of the
   11               Non-Party Witnesses………………………..………………….40
   12           C. Plaintiffs Should be Sanctioned for Bringing Forth this
   13               Motion………………………………………...………………..42
   14   III. CONCLUSION …………………………………………………………..42
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
                                            viii
   28
             NOTICE OF MOTION AND LOCAL RULE 37-1 JOINT STIPULATION REGARDING
            PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE WITNESSES FOR
                         DEPOSITION AND FOR IMPOSITION OF SANCTIONS
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 9 of 51 Page ID #:161




    1                                                I.
    2                                      ISSUES IN DISPUTE
    3
    4   A.     DEPOSITIONS OF A&K WITNESSES IN EGYPT AND KENYA
    5          FOR WHICH NOTICES OF DEPOSITION HAVE BEEN SERVED.
    6          Plaintiff noticed the depositions of the following A&K witnesses, all of
    7   whom work and reside in Egypt and Kenya:
    8              1. John Muchiri, General Manager of A&K;
    9              2. Ahmed Tawfeek, Senior Tour Coordinator of A&K;
   10              3. Mahmoud Hagag, Tour Coordinator of A&K;
   11              4. Hossam Kotb, Tour Coordinator of A&K;
   12              5. Unis (Eunice), tour guide of A&K9;
   13              6. John the Driver, tour guide of A&K10;
   14              7. Luca Belipietro, A&K’s agent and/or the owner of Campi Ya Kanzi
   15                  in Kenya, identified in Defendants’ Rule 26(a) Initial Disclosures.11;
   16              8. Martin the Airplane Pilot, A&K’s agent and/or an “employee” of
   17                  Campi Ya Kanzi as identified in Defendants’ Rule 26(a) Initial
   18                  Disclosures.12 (Declaration of Jason B. Witten, Exhibit “O”).
   19          Defendants objected to each of the notices of deposition and refused to
   20   produce the witnesses for deposition as follows:
   21          “[Witness] is employed by an independent contractor and is not an
   22          agent and/or employee of Abercrombie & Kenya and/or American
   23          Express. Therefore, [Witness] is a non-party witness. As discussed
   24          above, a non-party witness must be compelled by subpoena pursuant
   25          to Fed. Rules of Civ. Proc. 30(a)(1). The Notice of Deposition for
   26
        9
          Official title presently unknown.
   27   10
           Official title presently unknown.
        11
   28      Official title presently unknown.
        12
           Official title presently unknown.


                                                     1
                                      LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 10 of 51 Page ID #:162




    1          [Witness] fails to comply with the Fed. Rules of Civ. Pro. Because the
    2          deponent was not served with a subpoena. Furthermore, [Witness]
    3          may only be compelled by subpoena if he is a resident or national of
    4          the United States.” (Declaration of Jason B. Witten, Exhibit “K”).
    5
    6   B.     DEPOSITIONS OF A&K WITNESSES IN EGYPT AND KENYA
    7          FOR WHICH NOTICES HAVE NOT YET BEEN SERVED.
    8          Plaintiffs sought to notice the depositions of the following additional A&K
    9   witnesses located in Egypt and Kenya, and requested Defendants to accept notices
   10   of depositions for the following witnesses, all of whom are believed to work and
   11   reside in Egypt and Kenya:
   12             1. Reuben Makau, Fleet Assistant of A&K;
   13             2. Cyrus Magu, Tour consultant of A&K;
   14             3. Amir Abdel Alim, Tour Consultant of A&K;
   15             4. Geoffrey Macharia, Division Manager of A&K;
   16             5. Fiby Youssif of A&K13;
   17             6. Jane Gano of A&K14;
   18             7. Julie Schwartz of A&K15; and
   19             8. Susan Jaeger of A&K.16
   20          Defendants refused to accept the notices of deposition on the same bases as
   21   those stated in response to those depositions noticed by Plaintiffs referenced
   22   above, to wit:
   23          “[Witness] is employed by an independent contractor and is not an
   24
        13
   25      Official title and location presently unknown.
        14
           Official title and location presently unknown. Ms. Gano may be in Kenya, but Defendants
   26   could not confirm whether this was the case.
        15
           Official title presently unknown. Ms. Schwartz may be in Kenya, but Defendants could not
   27   confirm whether this was the case.
        16
   28      Official title presently unknown. Ms. Jaeger may be in Kenya, but Defendants could not
        confirm whether this was the case.


                                                    2
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 11 of 51 Page ID #:163




    1         agent and/or employee of Abercrombie & Kent and/or American
    2         Express. Therefore, [Witness] is a non-party witness. As discussed
    3         above, a non-party witness must be compelled by subpoena pursuant
    4         to Fed. Rules of Civ. Proc. 30(a)(1). The Notice of Deposition for
    5         [Witness] fails to comply with the Fed. Rules of Civ. Pro. Because the
    6         deponent was not served with a subpoena. Furthermore, [Witness]
    7         may only be compelled by subpoena if he is a resident or national of
    8         the United States.” (Declaration of Jason B. Witten, Exhibit “K”).
    9
   10                                           II.
   11                             PARTIES’ CONTENTIONS
   12
   13                  PLAINTIFFS’ INTRODUCTORY STATEMENT
   14
   15         After fully availing themselves of the benefits and protections of this State
   16   and its Courts by conducting a lucrative business here in California and soliciting
   17   its citizens – including Plaintiffs – to purchase luxury travel tour packages in
   18   foreign countries, Defendants now hypocritically refuse to produce their own
   19   managers and employees for deposition here in the United States after being sued
   20   in the United States for a travel package experience in those countries gone awry
   21   at the hands of their own negligence and breach. Such a position is incongruous
   22   with their purposeful availment of the benefits of conducting business in this
   23   State, and Defendants must be compelled to immediately produce for deposition
   24   those witnesses constituting their managers and representatives in Egypt and
   25   Kenya whom Plaintiffs have noticed, and others whom Plaintiffs seek to notice,
   26   for deposition here in California.
   27         Indeed, Defendants AMERICAN EXPRESS TRAVEL RELATED
   28   SERVICES COMPANY (“AMEX”) and ABERCROMBIE & KENT, INC.


                                                 3
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 12 of 51 Page ID #:164




    1   (“A&K”)(collectively, “Defendants”) are two US-based worldwide giants in the
    2   luxury travel industry, who conduct substantial business in the State of
    3   California,   and   who    more    specifically    solicited   Plaintiffs   RICHARD
    4   GALLAGHER              (“Gallagher”)         and       JOHANNA              SANCHEZ
    5   (“Sanchez”)(collectively, “Plaintiffs”) here in the State of California to purchase
    6   an exotic luxury travel tour package in Egypt and Kenya. In order to induce
    7   Plaintiffs into purchasing Defendants’ luxury travel package, these US-based
    8   Defendants represented and promised to Plaintiffs that they operated their own
    9   offices in those exotic countries staffed by their own “handpicked” managers and
   10   employees, and could, and would oversee the quality of Plaintiffs’ travel
   11   experience abroad in Egypt and Kenya through those managers and
   12   representatives located in those respective countries. Unfortunately for Plaintiffs,
   13   the travel experience promised to them by Defendants fell grossly short of what
   14   was originally bargained-for, and none of Defendants’ managers and
   15   representatives in either Egypt or Kenya took appropriate steps to prevent
   16   Plaintiffs’ $100,000 ostensible deluxe travel experience from turning into a
   17   veritable nightmare.
   18         In order to bring this matter to justice, Plaintiffs have noticed the
   19   depositions of those very managers and representatives in Egypt and Kenya whom
   20   Defendants have marketed to Plaintiffs and the general public as their own
   21   “handpicked” employees that would be responsible for overseeing the success of
   22   Plaintiffs’ travel experience. However, Defendants now refuse to produce these
   23   witnesses (many of whom were identified as A&K representatives in Defendants’
   24   own Initial Disclosures) on the untenable grounds that they are independent
   25   contractors or are employed by independent contractors located in Egypt and
   26   Kenya. As argued herein below, Defendants should be prohibited from hiding
   27   behind such a façade of separateness from their travel operations in those foreign
   28   countries and must be compelled to produce for deposition those vital witnesses


                                                 4
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 13 of 51 Page ID #:165




    1   constituting the very managers and representatives of A&K that were percipient
    2   witnesses (and participants) of Plaintiffs’ victimization by Defendants’ recklessly
    3   misleading luxury travel operation.
    4         Finally, as argued in detail hereinbelow, having the above-described
    5   witnesses appear here in United States – specifically in this District - for
    6   deposition serves the substantial interests of judicial economy, and will allow the
    7   parties to avoid the substantial costs and safety risks attendant to sending their
    8   attorneys and reporters overseas to countries which have been designated by the
    9   Bureau of Consular Affairs as perilous travel destinations.
   10         Accordingly, Plaintiffs respectfully request that this Court compel
   11   Defendants produce the various out-of-country witnesses described herein for
   12   deposition here in the Central District of California, the site of the origin of the
   13   transactions that would give rise to the unfortunate events described in Plaintiffs’
   14   underlying Complaint, where Defendants operate and transact a substantial
   15   portion of their respective travel business, and where Defendants have sought the
   16   protections of this very Court. In the alternative, if Defendants refuse to produce
   17   these witnesses, Plaintiffs request that the Court issue evidentiary sanctions to
   18   preclude Defendants from introducing any testimony and/or evidence from any of
   19   these named out-of-country witnesses at trial, including a negative interference
   20   jury instruction that any such testimony would support Plaintiff’s claims and hurt
   21   Defendant’s defenses.     Plaintiffs further request the imposition of monetary
   22   sanctions against Defendants equivalent to the reasonable attorneys’ fees incurred
   23   by Plaintiffs in bringing the instant Motion.
   24
   25
   26
   27   ///
   28   ///


                                                  5
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 14 of 51 Page ID #:166




    1        PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES
    2                       IN SUPPORT OF MOTION TO COMPEL17
    3
    4   A.     BACKGROUND
    5          1.     Factual Background
    6          In early October 2007, Defendant AMEX contacted Plaintiffs to solicit the
    7   purchase of a luxury vacation package to Egypt and Kenya – countries that
    8   Plaintiffs had never previously visited.            (Declaration of Richard Gallagher
    9   (“Gallagher Decl.”), para. 2). In order to induce Plaintiffs to purchase their
   10   luxury travel package, Defendants AMEX and A&K marketed to Plaintiffs
   11   A&K’s world-reknown reputation for being able to provide an extremely high-
   12   level of personalized service to Plaintiffs through their ground offices in Egypt
   13   and Kenya. (Gallagher Decl., para. 2 – 3). Based on Defendants’ representations
   14   regarding A&K’s operations in Egypt and Kenya, and that Plaintiffs would be
   15   personally attended to by A&K’s own employees and representatives in those
   16   very exotic countries, Plaintiffs purchased the vacation package marketed to them
   17   by Defendants. (Gallagher Decl., para. 3).
   18          The A&K representatives who hosted, guided, and assisted Plaintiffs
   19   throughout their two-week trip to both Egypt and Kenya from November to
   20   December 2007 represented themselves to Plaintiffs as A&K employees, and
   21   Plaintiffs at all times believed these representations to be true, especially since the
   22   representations were consistent with those previously made by Defendants in the
   23   United States, to wit, that Plaintiffs would be attended to at all times by A&K’s
   24   own handpicked staff. (Gallagher Decl., para. 5 – 6, 12).
   25          Indeed, Plaintiffs were provided maps, itineraries, brochures, and business
   26   cards by A&K representatives that displayed A&K office locations and addresses
   27
        17
   28     A copy of the Court’s original scheduling order in this case is attached as Exhibit “I” to the
        concurrently filed Declaration of Jason B. Witten.


                                                       6
                                     LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 15 of 51 Page ID #:167




    1   in Egypt and Kenya; The A&K representatives also wore shirts bearing the
    2   A&K’s distinctive logo (which were published and displayed on A&K’s internet
    3   websites, brochures, itineraries, invoices and receipts), and transported Plaintiffs
    4   to different locations in Egypt and Kenya in A&K-labeled vehicles. (Gallagher
    5   Decl., para. 6, 8, 11).
    6          Even further, among those A&K representatives that hosted Plaintiffs
    7   during their stay in Egypt and Kenya was John Muchiri, whom Defendants have
    8   identified in their Rule 26(a) Initial Disclosures as A&K’s General Manager in
    9   Kenya. (Gallagher Decl., para. 7; Declaration of Jason Witten (“Witten Decl.”),
   10   para. 3).
   11          Like Mr. Muchiri, other A&K representatives hosted Plaintiffs during their
   12   overseas stay. Defendants provided Plaintiffs with A&K business cards listing
   13   A&K office addresses and phone numbers in Egypt and Kenya, including Mr.
   14   Ahmed Tawfeek, A&K’s Senior Tour Coordinator in Aswan, Egypt, Mahmoud
   15   Hagag, A&K’s Tour Coordinator in Luxor, Egypt, and Mr. Hossam Kotb, also
   16   A&K’s Tour Coordinator in Luxor, Egypt. (Gallagher Decl., para. 8).
   17          Other A&K representatives represented themselves to Plaintiffs as
   18   employees and representatives of A&K, and hosted, guided, and accommodated
   19   Plaintiffs as A&K’s representatives in Egypt and Kenya. These individuals, who
   20   also wore A&K-labeled apparel and drove A&K-labeled vehicles, included Ms.
   21   “Unis” (or Eunice)18 and “John the driver.”19 (Gallagher Decl., para. 9). Others
   22   that hosted Plaintiffs on behalf of A&K, but who did not wear A&K-embroidered
   23   clothing or operate A&K-labeled vehicles included Luca Belipietro and “Martin
   24   the Pilot,” 20 who hosted Plaintiffs for several days at a Kenyan resort called
   25   “Campi Ya Kanzi” – another part of the Kenyan tour package that was
   26
   27   18
           Plaintiffs did not ask for Unis’ last name.
        19
   28      Plaintiffs did not ask for John’s last name.
        20
           I did not ask for Martin’s name.


                                                          7
                                       LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 16 of 51 Page ID #:168




    1   coordinated by Defendants AMEX and A&K. (Gallagher Decl., para. 10).
    2         The marketing materials provided and made available to Plaintiffs and to
    3   the general public at large by Defendants, including itineraries, brochures, and
    4   internet websites, confirm the facts set forth above, and which are described in
    5   further detail in the concurrently filed Declaration of Gallagher.
    6         Indeed, A&K’s marketing mantra is well-encapsulated by the following
    7   statement made on one of A&K’s luxury travel brochures:
    8         “Most luxury travel companies rely on third parties on the ground,
    9         offering the same experience across the board. We have our own
   10         handpicked people on the ground in over 60 offices worldwide, and
   11         many more in the open air, on our boats and in camps and lodges.
   12         Our feet-on-the-ground approach is unique in the travel industry.”
   13         [emphasis added]. (Witten Decl., para. 17).
   14         It is therefore no great wonder that travelers such as Plaintiffs place their
   15   trust in A&K’s representations that it has offices in the numerous exotic travel
   16   destinations that it offers, including Egypt and Kenya. In fact, A&K’s marketing
   17   materials distributed and offered to Plaintiffs and to the general public are replete
   18   with representations that confirm their professed commitment to personalized
   19   services through its own offices and staff in the very overseas locations where
   20   A&K offers luxury tour packages.          A&K boasts, for example, that it “owns
   21   “operates 62 full-time offices around the world, staffed by over 2,000 people,” all
   22   “[u]nder the visionary direction of Mr. Kent and co-owner, Jorie Butler Kent,”21
   23   (Witten Decl., para. 14).
   24         Similarly, Defendant A&K openly and unabashedly represents the manner
   25   in which A&K’s guests and travelers are “escorted,” “accompanied,” and
   26   “supported” by the “finest” and “seasoned A&K local guides,” “expert A&K
   27
        21
   28     According to A&K’s marketing materials A&K was originally founded in Kenya by Mr.
        Geoffrey Kent and Ms. Jorie Butler Kent. (Witten Decl., para. 14).


                                                   8
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 17 of 51 Page ID #:169




    1   Tour Directors,” “A&K’s top-notch staff,” “A&K’s Egyptologists,” “A&K’s on-
    2   site offices,” and other “A&K experts.” (Witten Decl., para. 15).
    3         Moreover, A&K again openly advertises that it operates out of no less than
    4   48 “A&K Ground Offices” in “more than 25 countries” including, but certainly
    5   not limited to Egypt and Kenya, and lists those office addresses and phone
    6   numbers. (Witten Decl., para. 16 - 18). With respect to its travel operations in
    7   Egypt, A&K proudly comforts its customers by ensuring that, inter alia, “you
    8   know that you are in safe hands, namely those of our team in Egypt,” that “[a]ll of
    9   our team, from guide to driver, are proud to welcome you to their country,” that
   10   “[w]ith nine offices throughout Egypt and over 400 staff we employ only the very
   11   best guides,” and “[o]ur team on the ground will provide you with real insight.”
   12   (Witten Decl., para. 18). Even A&K’s Egypt-based website publishes “A Warm
   13   Welcome to Egypt from…The Chairman & Vice-Chairman of A&K,” Mr.
   14   Geoffrey Kent, CEO and co-owner of Defendant A&K, who confirms in an
   15   electronically-signed letter that “we opened our own office here [in Egypt] in
   16   1982” and utilize “our Egyptian staff.” (Witten Decl., para. 19). Similarly, with
   17   respect to its offices in Kenya, Defendant A&K states that, “[w]ith our history
   18   and heritage there can be few teams, if any, as well placed to showcase and get
   19   the very best out of Kenya as our A&K Kenya team,” that “we offer … our
   20   private luxury mobile camps,” and that “[o]ur team will spare no effort to deliver
   21   you the most inspiring holiday experience possible in Kenya.” (Witten Decl.,
   22   para. 17). In fact, Kenya is specifically described by Defendant A&K as “the
   23   birthplace of Abercrombie & Kent, and boasts that “[w]ith our local knowledge
   24   and experience of Kenya we can offer you small, exquisite lodges and secluded
   25   tented camps that make for a memorable safari far removed from the crowds.”
   26   (Witten Decl., para. 17).
   27         While there is no shortage of marketing materials referencing its employees
   28   and offices in Egypt and Kenya, and which are offered and provided directly by


                                                   9
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 18 of 51 Page ID #:170




    1   Defendant A&K to its customers including Plaintiffs, other well-respected
    2   journals and business resources unaffiliated with A&K further corroborate and
    3   confirm Defendant A&K’s offices in Egypt and Kenya as well. For example, a
    4   well-known business-journal, BusinessWeek, describes A&K as being “based in
    5   Downers Grove, Illinois with additional offices in Egypt….” (Witten Decl., para.
    6   20). Similarly, the World Travel and Tourism Council (“WTTC”), describes
    7   A&K as a company that “comprises 50 worldwide and satellite offices, including
    8   … Cairo [and] Nairobi…,” “employing more than 3000 travel professionals
    9   worldwide,” and having “overseas locations [that] are staffed by local residents
   10   of each country.” (Witten Decl., para. 20). Similarly, another long-standing
   11   travel industry organization known as Advancing Tourism To Africa (“ATTA”),
   12   lists Defendant A&K as “a leading tour operator … especially in Africa where
   13   their fully owned ground operating offices provide a first class service second to
   14   none.” ATTA further lists A&K’s office locations including Nairobi, Mombasa,
   15   Arusha and Zanzibar. (Witten Decl., para. 20).
   16         The worldwide reputation of Defendants AMEX and A&K as giants in the
   17   luxury travel business is undeniable and has been touted as such by respected
   18   news journals such as “Reuters,” variously as “the world’s largest travel service
   19   network” which “has a network of Travel and Foreign Exchange Services at
   20   locations worldwide.” (Witten Decl., para. 21). Both Defendants AMEX and
   21   A&K have further benefited from marketing their partnership affiliation, and
   22   resulting expansive global reach of their travel services, with each other to the
   23   public, including Plaintiffs. (Witten Decl., para. 21). Not only has Defendant
   24   AMEX marketed A&K as one of its travel business partners in its own press
   25   releases, Defendant A&K also proudly markets its relationship with AMEX on its
   26   own website as well. (Witten Decl., para. 21).
   27         In sum, the pervasive nature, scope, and degree of Defendants’
   28   representations to Plaintiffs and to the public in general, as more fully described in


                                                 10
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 19 of 51 Page ID #:171




    1   the concurrently filed Declarations of Gallagher and Witten, all indicate and
    2   confirm that Defendant A&K has its own offices and staff in Egypt and Kenya.
    3   Moreover, those very managers, hosts, and guides who attempted to perform
    4   AMEX/A&K’s luxury vacation tour agreement with Plaintiffs were ostensible, if
    5   not actual, employees of A&K at A&K’s offices in those respective countries, as
    6   described herein. Indeed, if Defendants’ representations were a fraud, Defendants
    7   certainly should not be allowed to benefit from it.
    8             2. Background of Discovery Dispute
    9             Quite ironically, Defendants AMEX and A&K, who have made a
   10   substantial living for themselves and their employees by selling luxury travel
   11   packages overseas to citizens of the US, now refuse to travel to the US to appear
   12   for their own depositions. In fact, Defendants refuse to produce for deposition the
   13   very managers, employees, and representatives who were directly responsible for
   14   managing, overseeing, and performing AMEX/A&K’s contract with Plaintiffs in
   15   Egypt and Kenya, respectively.
   16             As more fully described in the Declarations of Gallagher and Witten, the
   17   A&K representatives in Egypt and Kenya sought to be deposed by Plaintiffs are
   18   the following:
   19                 1. John Muchiri, General Manager of A&K in Kenya;
   20                 2. Ahmed Tawfeek, Senior Tour Coordinator of A&K in Egypt;
   21                 3. Mahmoud Hagag, Tour Coordinator of A&K in Egypt;
   22                 4. Hossam Kotb, Tour Coordinator of A&K in Egypt;
   23                 5. Unis (Eunice), tour guide of A&K in Kenya22;
   24                 6. John the Driver, tour guide of A&K in Kenya23;
   25                 7. Reuben Makau, Fleet Assistant of A&K in Kenya;
   26                 8. Cyrus Magu, Tour consultant of A&K in Kenya;
   27
        22
   28        Official title presently unknown.
        23
             Official title presently unknown.


                                                      11
                                        LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 20 of 51 Page ID #:172




    1             9. Amir Abdel Alim, Tour Consultant of A&K in Egypt;
    2             10. Geoffrey Macharia, Division Manager of A&K in Kenya;
    3             11. Fiby Youssif of A&K in Egypt.24
    4             12. Jane Gano of A&K25; and
    5             13. Julie Schwartz of A&K.26
    6             14. Susan Jaeger of A&K.27 (Witten Decl., para. 12).28
    7             15. Luca Belipietro, Owner of Campi Ya Kanzi29;
    8             16. Martin the Airplane Pilot at Campi Ya Kanzi30;
    9          As described in detail in the Declaration of Witten, notwithstanding
   10   Plaintiffs’ substantial efforts to meet and confer with Defendants to coordinate
   11   these depositions in an orderly fashion with Defendants through the service of
   12   deposition notices of A&K’s own employees as described above, Defendants have
   13   to date refused to cooperate with Plaintiffs and instead seek to exacerbate
   14   litigation costs in what can only be construed as an act of gamesmanship.
   15          As a threshold matter, Defendants have evasively refused to provide any
   16   adequate explanation as to why, notwithstanding the facts as outlined above and in
   17   the Declarations of Gallagher and Witten, they continue to refuse to accept notices
   18   of deposition for these various A&K employees for which Defendants have
   19   greater access to information than Plaintiffs, and over which Defendants clearly
   20
        24
           Official title presently unknown.
   21   25
           Official title and location presently unknown. Ms. Gano may be in Kenya, but Defendants
   22   could not confirm whether this was the case.
        26
           Official title presently unknown. Ms. Schwartz may be in Kenya, but Defendants could not
   23   confirm whether this was the case.
        27
           Official title presently unknown. Ms. Jaeger may be in Kenya, but Defendants could not
   24   confirm whether this was the case.
        28
   25      Notices of deposition have already been served by Plaintiffs with respect to witnesses John
        Muchiri, Ahmed Tawfeek, Mahmoud Hagag, Hossam Kotb, Unis (Eunice), John the Driver,
   26   Luca Belipietro, and Martin the Airplane Pilot; Defendants have objected to the service any
        further notices for the depositions of the remaining out of country without subpoenas, and
   27   without confirming a deposition location in Egypt or Kenya.
        29
   28      Official title presently unknown.
        30
           Official title presently unknown.


                                                     12
                                     LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 21 of 51 Page ID #:173




    1   maintain full control.
    2         Furthermore, while Plaintiffs articulated numerous legal and pragmatic
    3   bases that mitigated in favor of having the depositions taken here in the United
    4   States, specifically in this District, Defendants have offered none, other than the
    5   boilerplate assertion that the witnesses described in this Motion reside in foreign
    6   countries and are not employees of A&K; such assertion is of course at extreme
    7   odds with A&K’s own previous representations to Plaintiffs and the public
    8   (described in detail above and further in the Declarations of Gallagher and Witten)
    9   and Initial Disclosures naming them as being A&K’s General Managers and
   10   representatives in Egypt and Kenya. (Witten Decl., para. 3, 7). Among other
   11   things, Plaintiffs’ articulated position to Defendants in favor of having the
   12   depositions taken here in California rather than in Kenya and Egypt, include that
   13   (1) there remain substantial questions of legality and exposure to physical danger
   14   by conducting depositions in Kenya and Egypt, (2) Defendants conduct
   15   substantial business here in the United States and have availed themselves of this
   16   Country and State’s benefits and protections (3) Defendants have availed
   17   themselves of the benefits and protections of conducting business here in the
   18   United States and have held out their overseas representatives as employees of
   19   A&K, and (4) the Court needs to be immediately accessible to the parties in order
   20   to address disputes that may arise during the course of the vital and very brief
   21   opportunity to depose these foreign national witnesses. (Witten Decl., para. 11).
   22         As of the date of preparing Plaintiffs’ portion of this Stipulation,
   23   Defendants have failed and refused to engage Plaintiffs in a meaningful meet and
   24   confer process to address any of the above issues (argued further hereinbelow)
   25   identified by Plaintiffs in the course of Plaintiffs’ extensive efforts to resolve the
   26   parties’ discovery dispute with Defendants, forcing Plaintiffs to file the instant
   27
   28


                                                 13
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 22 of 51 Page ID #:174




    1   Motion to seek the Court’s guidance on this matter.31 Preferring to stand firmly
    2   upon their simple un-buttressed “it’s your problem” position, Defendants further
    3   refuse to confirm whether they in fact have control over these witnesses whom
    4   they identified as A&K representatives in their own Rule 26(a) Initial Disclosures
    5   and whom they may themselves call at trial.32 (Witten Decl., para. 3, 7). In fact,
    6   when requested by Plaintiffs as an alternative, Defendants would not even agree to
    7   take the depositions of A&K’s employees and representatives in Egypt or Kenya,
    8   further suggesting the gamesmanship at play in this matter. (Witten Decl., para.
    9   12). Defendants have also refused Plaintiffs’ further offer for a stipulated
   10   exclusion of evidence or testimony from these A&K witnesses as a reasonable
   11   compromise between the parties, or (not surprisingly) a stipulation to a negative
   12   inference jury instruction as to any evidence or testimony attempted to be offered
   13   by Defendants at trial, as further described hereinbelow.33
   14          Again, to the extent that Defendants have control over the above-referenced
   15   witnesses to produce them at trial in this District, then Defendants clearly have
   16   control to bring them to deposition here as well and should be compelled to do so
   17   instead of exploiting such control as unfair leverage against Plaintiffs in this
   18   discovery dispute.
   19   B.     IF DEFENDANTS HAVE CONTROL TO BRING THEM TO TRIAL,
   20          THEN THEY HAVE CONTROL TO BRING TO DEPOSITION.
   21          DEFENDANT A&K SHOULD BE COMPELLED TO PRODUCE ITS
   22          MANAGERS AND REPRESENTATIVES IN EGYPT AND KENYA
   23          FOR DEPOSITION WHO HAVE PERSONAL KNOWLEDGE OF
   24
        31
   25      At one point, counsel for Defendants even wholly refused Plaintiffs’ initial invitation to meet
        and confer with Plaintiffs regarding the depositions of out-of-country witnesses that had not yet
   26   been noticed by Plaintiffs. (Witten Decl., para. 6).
        32
           These A&K employees in Egypt and Kenya included John Muchiri, Reuben Makau, Cyrus
   27   Magu, Jane Gano, Amir Abdel, Geoffrey Macharia, and Fiby Youssif.
        33
   28      Plaintiffs have therefore satisfied their obligation to meet and confer, pursuant to Local Rule
        37-1.


                                                       14
                                      LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 23 of 51 Page ID #:175




    1         THE TRANSACTIONS ALLEGED IN THE COMPLAINT.
    2         1. Defendants Should Be Compelled To Produce A&K’s Employees
    3             Under Their Control That Have Personal Knowledge Of The Events
    4             And Transactions Alleged In The Complaint.
    5         Federal Rules of Civil Procedure (“FRCP”) Rule 30 allows a party to take
    6   the deposition of “any person, including a party,” which may include both natural
    7   persons, corporate entities. (FRCP 30(a)(1)). Furthermore, a party has the right to
    8   discover through such a deposition any non-privileged information “relevant to
    9   any party’s claim or defense.” (FRCP Rule 26(b)(1)). Such “relevance” standard
   10   is “accorded a broad and liberal treatment” (Hickman v. Taylor (1947) 329 US
   11   495, 507) and interpreted expansively to include any information that “might
   12   reasonably assist a party in evaluating the case, preparing for trial, or facilitating
   13   settlement thereof.” (Ceramic Corp. of America v. Inka Maritime Corp. Inc. (CD
   14   Cal. 1995) 163 F.R.D. 584, 587).
   15         As explained in detail above and further in the Declarations of Gallagher
   16   and Witten filed concurrently by Plaintiffs, these out-of-country witnesses are the
   17   very managers, employees, and agents of A&K responsible for performing
   18   Defendants’ promises under the luxury travel contract with Plaintiffs in Egypt and
   19   Kenya, and who are therefore witnesses with important first-hand knowledge of
   20   the facts of this case.    Accordingly, the testimony and documentary evidence
   21   offered by these individuals fall squarely within the permissible scope of relevant
   22   discovery, and Plaintiffs are entitled to them in pre-trial discovery.
   23         As described in detail in the Declaration of Gallagher, Plaintiffs were at all
   24   times led to believe by A&K that he and Ms. Sanchez were being attended to by
   25   actual employees of Defendant A&K. Not only did both AMEX and A&K
   26   represent A&K to Plaintiffs and the world at large as a worldwide and reputable
   27   leader in the luxury travel industry (as described above), Plaintiffs were
   28   specifically told by A&K both verbally and in writing through itineraries and


                                                  15
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 24 of 51 Page ID #:176




    1   brochures, that they would be met, guided, and provided support by A&K
    2   employees. Furthermore, the managers, tour guides, drivers, and liaisons upon
    3   whom Plaintiffs had no choice but to rely to guide them and protect them in
    4   unfamiliar and exotic countries, expressly confirmed that they were employees of
    5   A&K; moreover, the fact they provided Plaintiffs with A&K business cards, wore
    6   A&K-labeled apparel, drove A&K vehicles, and performed services that were
    7   promised to Plaintiffs by A&K and AMEX further corroborated the truth of those
    8   representations. 34 In other words, Plaintiffs had no reason to believe anything
    9   other than the fact that the above-referenced witnesses were A&K employees.
   10         Despite the immense weight of the facts set forth above and in further detail
   11   in the Declarations of Gallagher and Witten, concerning the nature and role of
   12   these various witnesses in Egypt and Kenya as A&K’s employees and agents
   13   under A&K’s direct control, Defendants refuse to acknowledge them as such and
   14   argue that they are independent contractors and/or employees of independent
   15   contractors beyond the responsibility of either Defendant A&K or AMEX.
   16   (Witten Decl., para. 4 - 6). Plaintiffs numerous attempts to discover the details to
   17   support such allegations have been met only by Defendants’ repeated terse and
   18   vague boilerplate conclusions that each and every one of the named individuals
   19   are not affiliated with either A&K or AMEX other than as independent
   20   contractors.
   21         If this is in fact true, are Defendants willing to admit that their voluminous
   22   representations made to Plaintiffs and to the consumer public at large detailed
   23   above were false? If so, then it would appear that Defendants have no choice but
   24   to even further admit that it is upon these very false representations that has, in
   25   great part, driven the world-renown success of their global luxury travel service
   26   reputation, which boasts the ostensible, if not actual, global reach of their
   27
        34
   28     This is not to suggest, of course, that they were successful in their performance of
        Defendants’ promises.


                                                 16
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 25 of 51 Page ID #:177




    1   company based here in the United States through its “handpicked” employees
    2   under its full control.
    3          In response to Defendants’ curt responses that these witnesses as
    4   independent contractors, Plaintiffs have articulated the above-referenced facts to
    5   Defendants in extensive meet and confer letters and telephone conference,
    6   pointing out to Defendants that the numerous representations and conduct of A&K
    7   and the witnesses themselves were in complete contradiction to, and militated
    8   against such a position. Plaintiffs have even pointed out to Defendants that
    9   Defendants themselves admit the direct affiliation of the witnesses referenced
   10   above with A&K by designating them as “of A&K” in their own Rule 26(a) Initial
   11   Disclosures. (Witten Decl., para. 7).         Their refusal to explain away such
   12   admissions to Plaintiffs as described above places the validity of their claims in
   13   even further question. Defendants articulated no further details or arguments to
   14   support their position. Nor would they either confirm or deny that these witnesses
   15   were under A&K’s control. (Witten Decl., para. 10).
   16          In sum, since the substantial weight of facts submitted by Plaintiffs strongly
   17   mitigate in favor of finding that these witnesses are employees, managers, and/or
   18   agents of A&K and under A&K’s control, Defendant A&K should be prohibited
   19   from its disingenuous reliance upon any purported separateness from these
   20   witnesses and should acknowledge its obligation to produce them for deposition
   21   upon notice.
   22          2. Notices Of Deposition Are Sufficient To Compel The Attendance Of
   23             Those Witnesses Controlled By A&K.
   24          A subpoena is not necessary to compel the appearance of a witness under a
   25   corporate party’s control – in particular, the party’s officer, director or managing
   26   agent. (FRCP Rule 37(d)(1)(A)(i); Cadent Ltd. v. 3M Unitek Corp. 232 F.R.D.
   27   625, 628, fn 1 (C.D. CA 2005) [“Under Rule 30(b)(1), it is well recognized that ‘if
   28   the corporation is a party, the notice compels it to produce any ‘officer, director or


                                                 17
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 26 of 51 Page ID #:178




    1   managing agent’ named in the deposition notice. It is not necessary to subpoena
    2   such individual.” (emphasis added)]). In such a case, service of a deposition
    3   notice is effective by itself to compel such persons to attend and to testify, and to
    4   produce for inspection any document or thing described in the notice. (GTE
    5   Products Corp. v. Gee, 115F.R.D. 67, 68-69 (D. MA 1987).                        Under the
    6   circumstances at bar, it is both necessary and appropriate that these witnesses be
    7   produced by Defendants to appear for deposition here in the United States, even
    8   where they reside and work at A&K’s offices in Egypt and Kenya.
    9          Accordingly, Plaintiffs served notices of deposition to the following
   10   witnesses on or about March 11, 2009:
   11             a. “John the Manager” and John Muchiri (who are believed to be the
   12                 same person);
   13             b. Ahmed Tawfeek;
   14             c. Mahmoud Hagag;
   15             d. Hossam Kotb;
   16             e. “Unis” (Eunice);
   17             f. “John the Driver”;
   18             g. Luca Belipietro; and
   19             h. Martin the Airplane Pilot.35 (Witten Decl., para. 2).
   20          Defendant A&K, however, has refused to acknowledge that the notices
   21   served by Plaintiffs are in fact effective to compel it to produce the above-
   22   referenced individuals for deposition.         As explained above, Defendants’ sole
   23   articulated boilerplate basis for such complete refusal to acknowledge the legal
   24   effect of the notices has been that they “are not employees of A&K.” (Witten
   25   Decl., para. 7).     On this same boilerplate basis, Defendants further rejected
   26
   27   35
          Unfortunately, the last names of certain of these witnesses are not currently known since
   28   Plaintiffs were not always provided the information from A&K’s representatives while in Egypt
        and Kenya.


                                                     18
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 27 of 51 Page ID #:179




    1   Plaintiffs’ request that Defendants accept notices of deposition as to the following
    2   additional witnesses, most of whom were again identified by Defendants in their
    3   own Initial Disclosures, and whom are similarly-situated as the above-described
    4   witnesses already noticed by Plaintiff with respect to their affiliation with
    5   Defendant A&K:
    6             a. Reuben Makau;
    7             b. Cyrus Magu;
    8             c. Amir Abdel;
    9             d. Geoffrey Macharia;
   10             e. Fiby Youssif;
   11             f. Amr Badr;
   12             g. Dalia Khater;
   13             h. Hany Adly; and
   14             i. Mamodouh Hanna.
   15             j. Jane Gano of A&K36; and
   16             k. Julie Schwartz of A&K.37
   17             l. Susan Jaeger of A&K.38 (Witten Decl., para. 7 – 8, 10).39
   18          Not only do the facts preponderate heavily in favor of finding these various
   19   individuals to be employees of A&K at its offices in Egypt and Kenya as argued
   20   above, Defendants do not deny that they have control of, and access to these
   21   witnesses, yet nevertheless refuse either to acknowledge the notices of deposition
   22   or to even facilitate the production of these witnesses for deposition. As stated
   23
        36
           Official title and location presently unknown. Ms. Gano may be in Kenya, but Defendants
   24   could not confirm whether this was the case.
        37
   25      Official title presently unknown. Ms. Schwartz may be in Kenya, but Defendants could not
        confirm whether this was the case.
        38
   26      Official title presently unknown. Ms. Jaeger may be in Kenya, but Defendants could not
        confirm whether this was the case.
   27   39
           Information regarding these witnesses has been lacking due to Defendants’ failures and
   28   refusal to provide further information about them in supplemental disclosures and
        interrogatories.


                                                    19
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 28 of 51 Page ID #:180




    1   above, in the event that A&K argues it should be allowed to produce these
    2   witnesses for trial, that would confirm that they do have control over these
    3   witnesses, as is believed to be the case, and A&K’s argument that they cannot
    4   produce them for deposition is revealed to be false. This would be an independent
    5   basis for the monetary and evidentiary sanctions sought herein.
    6          In fact, the Court has authority to issue sanctions against party that fails to
    7   produce for deposition its officer, director or managing agent.                 (FRCP Rule
    8   37(d)(1)(A)(i); Cadent, supra, 232 F.R.D. 625, 628 fn 1 [“The [corporate party]
    9   risks sanctions-including default or dismissal-if the designated [officer, director or
   10   managing agent] fails to appear.” (cites omitted)].).40
   11          In short, since these witnesses are employees and/or agents under A&K’s
   12   control, A&K should be compelled to accept service and acknowledge their legal
   13   duty to respond to duly issued Rule 30 notices and produce the above-referenced
   14   employees to appear for deposition. Or, in the alternative, Plaintiffs respectfully
   15   request the Court to issue an evidentiary sanction against Defendants in addition
   16   to the monetary sanctions requested herein, ordering that any and all testimony or
   17   evidence derived from these witnesses should be excluded, unless such evidence
   18   is presented by Plaintiffs. 41 Furthermore, a negative inference jury instruction
   19   should be issued from Defendants’ failure to produce these witnesses for
   20   deposition.
   21   C.     DEFENDANT A&K SHOULD BE COMPELLED TO PRODUCE ITS
   22          MANAGERS AND REPRESENTATIVES IN EGYPT AND KENYA
   23          FOR DEPOSITION HERE IN THE UNITED STATES WHERE IT IS
   24          SAFE AND LEGAL TO DO SO.
   25
        40
   26      “The court… may … order sanctions if … a party or a party’s officer, director, or managing
        agent … fails, after being served with proper notice, to appear for that person’s deposition….”
   27   (FRCP Rule 37(d)(1)(A)(i)).
        41
   28      Among other things, Plaintiffs were, for example, provided with business cards of certain of
        these A&K representatives. (Gallagher Decl., para. 6).


                                                      20
                                     LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 29 of 51 Page ID #:181




    1          1. Defendants Are Unable To Confirm And Ensure The Safety Of
    2             Taking The Depositions Of The Above-Named Witnesses In Either
    3             Egypt And/Or Kenya.
    4          FRCP 28(b)(1) authorizes taking depositions abroad.         Plaintiffs have
    5   advised and offered to Defendants that they are willing to travel to Cairo, Egypt
    6   and/or Nairobi, Kenya, to take the depositions of the above-witnesses if, and only
    7   if Defendants could guarantee Plaintiffs’ safety and the legality of taking such
    8   depositions in those respective countries. (Witten Decl., para. 5(b)). For this
    9   purpose, counsel for Plaintiffs have even offered, in good faith, dates of their
   10   availability.     (Witten Decl., para. 5).     Plaintiffs’ counsel further advised
   11   Defendants’ counsel that the depositions in Egypt and Kenya could be completed
   12   within approximately one week. (Witten Decl., para. 7).
   13          Not only have Defendants ignored Plaintiffs’ request to confirm and ensure
   14   the safety and legality of taking depositions in Egypt and Kenya, they further
   15   continue to steadfastly refuse to even facilitate the complicated and costly matter
   16   of coordinating such depositions in Egypt and Kenya. Given Defendants’ blatant
   17   refusals to acknowledge or address the issues of legality and safety attendant to
   18   sending US counsel to those foreign countries to take the depositions of their
   19   respective citizens as explained in more detail below, the equities preponderate in
   20   favor of compelling Defendants to produce their witnesses here in the United
   21   States for their brief depositions. (Witten Decl., para. 5(b)).
   22
   23          2. The Taking Of Depositions In Either Egypt And Kenya Would Be
   24             Perilous And Illegal For The Witnesses And For The Parties.
   25
   26                   a. Taking The Depositions In Either Kenya Or Egypt Would Place
   27                     The Physical Safety Of The Parties And Witnesses At
   28                     Substantial Risk.


                                                  21
                                   LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 30 of 51 Page ID #:182




    1          Plaintiffs’ repeatedly articulated concerns to Defendants as to the safety of
    2   taking depositions in either Egypt or Kenya have been met with indifference by
    3   Defendants. (Witten Decl., para. 6, 12). Towards this end, Plaintiffs have directed
    4   Defendants to the fact that the US Bureau of Consular Affairs, US Department of
    5   State, has issued a “Travel Warning” on November 14, 2008 advising against any
    6   international travel to Kenya, noting “increased security concerns in northeast
    7   Kenya near the Somali border.” (Witten Decl., para. 12; Exhibit “Q”). The
    8   Bureau in fact warns that “[v]iolent and sometimes fatal criminal attacks,
    9   including armed carjackings and home invasions/burglaries, can occur at any
   10   time and in any location, particularly in Nairobi.” (Witten Decl., para. 12;
   11   Exhibit “Q”).
   12          The Bureau similarly warns US travelers to Egypt, noting that as recently as
   13   September 2008, “11 foreign tourists and eight Egyptians were kidnapped for
   14   ransom in the remote south-western desert region, close to the Sudanese border”
   15   and that “[t]ourists should avoid travel to the border region.” (Witten Decl., para.
   16   12; Exhibit “R”). The Bureau further describes Egypt’s well-documented history
   17   of terrorist attacks since 2004, resulting in the killing of US citizens as well as
   18   local citizens, and that therefore “[t]ravelers should use caution when visiting
   19   destination resorts and hotels without significant physical setback and security
   20   procedures.” (Witten Decl., para. 12; Exhibit “R”). Indeed, even depositions in
   21   Cairo and Nairobi (as indicated herein), known as more civilized cities in
   22   comparison to others throughout Egypt and Kenya, respectively, pose a substantial
   23   safety risk to a group of US attorneys, translators and court reporters traveling to
   24   undertake the work of a US Court in these challenging times. (Witten Decl., para.
   25   5, 14).42 Cadent Ltd., supra, presented an analogous situation, where the proposed
   26
        42
          Plaintiffs respectfully request that the Court take judicial notice of the document entitled
   27   “Travel Warning,” dated November 14, 2008, prepared by the US Bureau of Consular Affairs,
   28   which can be found on the US Department of State’s official government website,
        www.travel.state.gov, and which is attached as Exhibit “Q” to the Witten Decl. Plaintiff


                                                     22
                                     LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 31 of 51 Page ID #:183




    1   corporate deponent failed to provide sufficient evidence for a protective order
    2   against requiring the corporation’s Israeli-based representatives to travel to Los
    3   Angeles for deposition.           In Cadent, Ltd., the Court ultimately ordered the
    4   depositions to be taken in Los Angeles, in part based upon the pragmatic fact that
    5   a deposition in Israel might be dangerous. (Cadent Ltd., supra, 232 F.R.D. 625,
    6   630).
    7           As confirmed by the US Bureau of Consular Affairs, the dangers of taking
    8   a deposition in Egypt and Kenya are very real, and militates toward taking the
    9   depositions here in the United States.
   10                  b. The Parties Do Not Have A Cognizable Legal Basis Upon
   11                      Which To Rely To Take The Non-Voluntary Depositions In
   12                      Egypt or Kenya Without Threat Of Incarceration.
   13           Plaintiffs’ research further indicates that neither Egypt nor Kenya are
   14   parties to the Hague Convention on Taking of Evidence Abroad in Civil or
   15   Commercial Matters (“the Hague Convention”), and do not currently have similar
   16   conventions or treaties with the US that would authorize the parties to take their
   17   citizens’ depositions in those countries. (See, e.g., Triple Crown America, Inc. v.
   18   Biosynth AG (ED PA 1998) 1998 WL 227886, 1 [court noting the requirement to
   19   resort to the Hague Convention for purposes of subpoenaing witnesses]). (Witten
   20
        further requests that the Court take judicial notice of the document entitled “Egypt Country
   21   Specific Information,” Dated 15, 2008, prepared by the US Bureau of Consular Affairs, which
   22   can be found on the US Department of State’s official government website,
        www.travel.state.gov, and which is attached as Exhibit “R”. “The Court may [] take judicial
   23   notice of pleadings, orders, and statutes from other jurisdictions if the documents are public
        records and capable of accurate and ready confirmation by sources that cannot reasonably be
   24   questioned.” (Yuen v. US Stock Transfer Co. 966 F. Supp. 944-45 (CD Cal. 1997); Clemmons
   25   v. Bohannon 918 F.2d 858, 865 (10th Cir. 1990), vacated on other grounds, on reh. en banc 956
        F2d 1523 (10th Cir. 1992) [court taking judicial notice of government reports and Surgeon
   26   General's reports concerning health risk of environmental tobacco smoke); Texas & Pac. Ry.
        Co. v. Pottorff 291 US 245, 254 fn 4 (1933), amended on other grounds, 291 US 649 (1934)
   27   [court taking judicial notice of official reports of the Comptroller of the Currency]; Blair v. City
   28   of Pomona (9th Cir. 2000) 223 F. 3d 1074 [court taking judicial notice of an independent
        commission’s report on the code of silence among police officers]).


                                                        23
                                      LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 32 of 51 Page ID #:184




    1   Decl., para. 5(b); Exhibit “L”). In lieu of such legal authority, taking a US
    2   deposition within these sovereign countries could be criminal and result in
    3   incarceration. (Witten Decl., para. 5(b)).
    4         Defendants have, to date, ignored Plaintiffs’ concerns concerning the
    5   legality of taking depositions in either Egypt or Kenya and have offered no
    6   response or solutions to the problem, militating against the taking of depositions
    7   in those countries, exposing the parties’ counsel and staff to the risk of engaging
    8   in illegal conduct within the borders of those sovereign countries.
    9         Accordingly, in lieu of Defendants’ ability to guarantee the safety and
   10   legality of the depositions referenced herein, the circumstances militate toward
   11   having those depositions taken here in the United States on dates mutually
   12   agreeable to the parties.
   13 D.      DEFENDANT A&K SHOULD BE COMPELLED TO PRODUCE ITS
   14         MANAGERS AND REPRESENTATIVES IN EGYPT AND KENYA
   15         FOR       DEPOSITION           HERE        IN     CALIFORNIA          WHERE
   16         DEFENDANTS CONDUCT SUBSTANTIAL BUSINESS AND HAVE
   17         PURPOSEFULLY AVAILED THEMSELVES OF THE BENEFITS
   18         AND PROTECTIONS OF THE SEVERAL STATES.
   19
   20         1. The Court Has Discretion To Determine The Proper Venue For
   21             Deposition.
   22         As explained above, there are substantial concerns over the very legality
   23   and safety of taking depositions in Kenya and Egypt – concerns which Defendants
   24   have refused to acknowledge as of the date of preparing Plaintiff’s portion of this
   25   Stipulation. Moreover, a plethora of additional grounds exist that mitigate in
   26   favor of having the depositions of the witnesses referenced above be taken by the
   27   parties here in the United States – Namely, here in California. Toward this end, it
   28   is well-settled that “[a] district court has wide discretion to establish the time and


                                                  24
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 33 of 51 Page ID #:185




    1   place of depositions.” (Hyde & Drath v. Baker, 24 F. 3d 1162, 1166 (9th Cir.
    2   1994)(court citing In re Standard Metals Corp., 817 F. 2d 625, 628 (10th Cir.
    3   1987), cert. dismissed, 488 U.S. 881, 109 S.Ct. 201, 102 L.Ed.2d 171 (1988)).
    4         Generally, the presumption is that a corporate party’s deposition should be
    5   held at its principal place of business.        This presumption “is subject to
    6   modification, however, when justice requires.” (Cadent Ltd., supra, 232 F.R.D.
    7   625, at 628 (emphasis added)). Even where such party-controlled and affiliated
    8   witnesses are foreign nationals or US citizens living abroad, they are subject to the
    9   court’s personal jurisdiction and may be deposed wherever the Court directs.
   10   Indeed, “exceptions to the general rule on the location of depositions are not
   11   uncommon” (U.S. v. $160,066.98 from Bank of America, 202 F.R.D. 624, 627
   12   (S.D. Cal. 2001)(citing Custom Form Mfg., Inc. v. Omron Corp., 296 F.R.D. 333,
   13   336 (N.D. Ind. 2000). In fact, “[w]hen a foreign corporation is doing business in
   14   the United States, is subject to the court’s jurisdiction, and has freely taken
   15   advantage of our federal rules of discovery, exceptions to the general rule on the
   16   location of depositions are often made.” (Id. at 628 (court citing Custom Form,
   17   supra, at 336)).
   18
   19         2. Defendants Solicited Plaintiffs In California And Have Purposefully
   20             Availed Themselves Of The Benefits And Protections Of Conducting
   21             Business In This State And The Several United States.
   22         As described in detail in the concurrently filed Declaration of Gallagher,
   23   AMEX and A&K solicited, and contracted with, Plaintiffs in California. In fact,
   24   as described above, AMEX has offices in California, two of them within only 5
   25   miles of the Court. Moreover, both AMEX and A&K are wealthy multi-national
   26   corporations. Their business conduct within the State of California mitigates in
   27   favor of compelling the depositions of A&K’s employees in this State – more
   28   specifically, Orange County, where Defendants have also conducted business, and


                                                 25
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 34 of 51 Page ID #:186




    1   where the Court and counsel for the parties are all located.
    2         Further, in Hyde, supra, 24 F. 3d 1162, the Court of Appeals for the 9th
    3   Circuit affirmed the district court’s order compelling various Hong Kong
    4   depositions to take place in San Francisco, in part since appellants had done
    5   business and filed suit in the Northern District of California and should therefore
    6   expect to have to appear there. (Id. at 1166). Similarly in the present action,
    7   AMEX has filed multiple lawsuits in the Central District of California, and A&K
    8   regularly invokes the protection of the Federal Courts located in California. In
    9   fact, within the last 20 years, A&K was organized as a foreign entity, and has filed
   10   suit in US Courts.      It would now be hypocritical to claim that its foreign
   11   employees should NOT come here for deposition, when its foreign employees
   12   filed suit in the US, thereby making themselves available for deposition in the US,
   13   and otherwise availing themselves of the benefits of the U.S. Court system when it
   14   suited them. (Witten Decl., para. 23-24).
   15         Finally, cost is not a factor for Defendants, who are multinational
   16   corporations engaging in global commerce. Indeed, the worldwide reputations of
   17   both A&K and AMEX for financial success and influence precede them, and they
   18   each openly advertise and market their partnership affiliation with each other here
   19   in the United States. (Witten Decl., para. 21). Both AMEX and A&K openly
   20   market their partnership relationship with respect to AMEX’s travel programs and
   21   packages. (Witten Decl., para. 21). The enormous growth of Defendant AMEX
   22   here in the United States and in the world travel industry has been touted in
   23   publications by distinguished journalist publications such as Reuters, which
   24   recently described AMEX Travel as “the world’s largest travel service network”
   25   which “has a network of Travel and Foreign Exchange Services at locations
   26   worldwide.” (Witten Decl., para. 21).
   27         Moreover, Defendants are large corporations backed by insurance funds
   28   that are better able to afford the expense of the trip. (See, e.g., Defendants’ Initial


                                                  26
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 35 of 51 Page ID #:187




    1   Disclosures, attached as Exhibit “O” to Witten Decl., which discloses that
    2   Defendants have insurance coverage)
    3
    4         3. The Depositions Should Be Taken Here In California To Secure A
    5            Prompt, Efficient And Effective Discovery Process.
    6         The depositions of the various A&K employees should be taken, at one
    7   time and at one location, in the United States – namely California where the
    8   parties and counsel reside and where the Court is located - rather than abroad at
    9   the corporation's principal place of business43 because "it would be difficult if not
   10   impossible for plaintiff to secure the depositions of [defendant abroad] in a
   11   manner as prompt, efficient and effective as that contemplated by the Federal
   12   Rules of Civil Procedure." The stated rationale is that American courts have an
   13   "overriding interest" in promptly and efficiently resolving litigation.       Triple
   14   Crown America, Inc. v. Biosynth AG, 1998 WL 227886 (E.D. Pa. 1998) (citing
   15   Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Court for Southern Dist.
   16   of Iowa, 482 U.S. 522, 107 S. Ct. 2542, 96 L. Ed. 2d 461, 7 Fed. R. Serv. 3d
   17   (LCP) 1105 (1987)).
   18         In the instant case, as explained in the Declaration of Witten, the parties are
   19   located here, counsel are located here, and the Court is located here to address any
   20   discovery disputes that may arise in the course of these very crucial and limited
   21   depositions of a number of witnesses who are foreign nationals; the costs of
   22   sending and accommodating attorneys, reporters, and translators to Kenya and
   23   Egypt (compounded by the risks of such travel), traveling to different regions of
   24   those countries, in addition to the cost of returning to complete depositions not
   25   completed due to discovery disputes that may arise and which could not be
   26   resolved due to the inaccessibility of the Court, would quickly become unwieldy.
   27         Indeed, the importance of the accessibility of the Court to resolve discovery
   28


                                                 27
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 36 of 51 Page ID #:188




    1   disputes concerning foreign witnesses as in the case at bar has been well-
    2   acknowledged by the Courts of the United States. For example, in Hyde, supra,
    3   the Court of Appeals for the 9th Circuit upheld the district court’s order to compel
    4   various Hong Kong depositions to take place in San Francisco, California in large
    5   part so that the court could directly oversee the proceedings.           (Id. at 1166).
    6   Similarly, the district court in Custom Form, supra, justified its decision to
    7   compel the production of a Japanese corporation’s employees for deposition in the
    8   United States in part as follows:
    9             “[T]he court's authority is compromised by distance. Without a federal
   10             judge or magistrate in Japan, it would be difficult to resolve discovery
   11             disputes that might arise in this matter.” Custom Form, supra, 196
   12             F.R.D. at 336-337).
   13             Courts have also recognized the importance of considering the location of
   14   the parties and their counsel in considering the appropriateness of compelling a
   15   foreign resident to appear for deposition in the United States. (Cadent Ltd., supra,
   16   232 F.R.D. 625, 628 – 629, 630 [Court ordered deposition of Israel resident to
   17   appear for deposition in Los Angeles, in part because counsel for all parties were
   18   located there]). Not only are counsel for the parties located here in Orange
   19   County California, both parties are located within the United States, and in fact
   20   Defendant AMEX has two local offices here in Orange County within 5 miles of
   21   the Court. (Witten Decl., para. 22).
   22             Given that the parties have only one discreet opportunity to take these
   23   depositions, and given the circumstances in the case at bar, the Court’s immediate
   24   availability to provide guidance to the parties is imperative; should anything go
   25   awry in the process, the parties most likely will not be able to go back and take the
   26   depositions again. As such, the importance of having the Court available to help
   27   resolve any issues, militates toward taking depositions here.
   28   43
             A&K has its principal place of business in Illinois.


                                                          28
                                         LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 37 of 51 Page ID #:189




    1          Furthermore, there are significant concerns over the intrusive impact upon
    2   the sovereignty of Egypt and Kenya, who are not parties to the pertinent section of
    3   the Hague Convention, as described above. On the other hand, such concerns
    4   would be minimized if those depositions occurred here. This was well-articulated
    5   by the District Court in Custom Form, supra, as follows:
    6          “[T]he court's authority would be compromised by sovereignty issues
    7          if depositions took place in Japan, rather than in the United States. If a
    8          federal court compels discovery on foreign soil, foreign judicial
    9          sovereignty may be infringed, but when depositions of foreign
   10          nationals are taken on American or neutral soil, courts have concluded
   11          that comity concerns are not implicated. the court's authority is
   12          compromised by distance. Without a federal judge or magistrate in
   13          Japan, it would be difficult to resolve discovery disputes that might
   14          arise in this matter.” (Custom Form, supra, 196 F.R.D. at 336-337).
   15          Finally, foreign laws often restrict deposition procedures. For example, in a
   16   discovery dispute far more simple than the one at bench, in Roberts v. Heim, 130
   17   F.R.D. 430 (N.D. Cal. 1990) (ordering Swiss defendant to appear for deposition in
   18   California), a deposition in Switzerland would have to be conducted by a local
   19   judicial officer and be taken in German. In that case, the Parties would not
   20   receive a verbatim transcript, but the judicial officer would rather issue a report
   21   from handwritten notes.         To avoid the substantial expense, effort and delays
   22   resulting from such a process, the court required the deposition to take place in the
   23   United States.44
   24        E. DEFENDANTS SHOULD BE SANCTIONED FOR THEIR FAILURE
   25          TO PRODUCE THEIR EMPLOYEES FOR DEPOSITION AND TO
   26          ENGAGE PLAINTIFFS IN A MEANINGFUL MEET AND CONFER
   27
        44
   28      This is assuming of course that the Parties can legally take the depositions of these witnesses
        in Egypt and Kenya in the first place, as argued above.


                                                       29
                                      LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 38 of 51 Page ID #:190




    1         PROCESS REGARDING THE DISCOVERY DISPUTE.
    2         Again, notwithstanding the above-referenced numerous bases articulated by
    3   Plaintiffs to Defendants, Defendants have offered none, other than the boilerplate
    4   and repeated assertions that the witnesses described in this Motion reside in
    5   foreign countries and are not employees of A&K.           As such, Defendants are
    6   subject to sanctions pursuant to FRCP Rule 37(d)(1)(A)(i) and Rule 37(d)(2).
    7         Defendants’ indiscriminate and unexplained refusals to produce ANY of the
    8   above-referenced witnesses for deposition ANYWHERE is in itself bad faith, has
    9   resulted, and will continue to result, in a rapid and wasteful accrual of litigation
   10   costs and complications in discovery for both parties as described above, and in
   11   itself constitutes sanctionable discovery conduct.
   12         And if Defendants refuse to produce the witnesses, then:
   13            1. Evidentiary sanctions precluding Defendants from introducing at
   14                trial, any testimony or evidence from the witnesses in Section I,
   15                above, or those who are similarly situated, whom Defendants have
   16                refused to produce for deposition;
   17            2. Evidentiary sanctions of a negative inference jury instruction for
   18                Defendants’ refusal to produce those witnesses in Section I, above,
   19                for deposition, such that any evidence those witnesses in Section I
   20                could have provided would have been against Defendants and would
   21                support Plaintiffs’ allegations;
   22            3. Monetary sanctions against Defendants in the amount of $3,500.00,
   23                for Defendants’ failure to meet and confer in good faith with
   24                Plaintiffs concerning the instant discovery dispute, and for the refusal
   25                to produce the above-referenced witnesses for deposition without
   26                substantial justification, pursuant to Federal Rules of Civil Procedure
   27                Section 37(d)(1)(A)(i) and 37(d)(1)(A)(i))
   28


                                                 30
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 39 of 51 Page ID #:191




    1                            PLAINTIFFS’ CONCLUSION
    2         In sum, (a) Defendants’ control over these employee witnesses; (b) the
    3   deeply relevant evidence to be provided by these witnesses; (c) the illegality and
    4   danger of undertaking the depositions in Cairo and Nairobi, (d) the location and
    5   resources of the parties in Orange County, (e) the benefit of having the Court
    6   accessible to address discovery disputes, (f) AMEX and A&K’s solicitation of
    7   Plaintiffs and doing business in this District, (g) AMEX and A&K’s availing
    8   themselves of the US legal system in California Districts when it suits them, (h)
    9   the location of both counsel in California, and (i) all other equities militate
   10   strongly in favor taking depositions here in Southern California.
   11         For the reasons set forth herein, Plaintiffs respectfully request that this
   12   Court grant their Motion to Compel in its entirety as set forth above, and to order
   13   Defendants to produce the above-referenced witnesses located in Egypt and
   14   Kenya to appear for deposition. In the alternative, if Defendants refuse to produce
   15   the witnesses, Plaintiffs request that the Court issue an evidentiary sanction
   16   against Defendants so that their testimony, and any evidence derived from them,
   17   should be excluded at trial, unless it comes from Plaintiffs. Further, a negative
   18   inference should be drawn from their failure to appear for deposition. Finally,
   19   Plaintiffs respectfully request that monetary sanctions be imposed against
   20   Defendants for their refusal to produce the above-referenced witnesses without
   21   substantial justification, and their bad faith refusals to produce their employees for
   22   deposition and further failure to engage Plaintiffs in a meaningful meet and confer
   23   to resolve the discovery dispute.
   24                 DEFENDANTS’ INTRODUCTORY STATEMENT
   25         This matter arises out of a vacation package to Africa purchased by
   26   plaintiffs Richard Gallagher and Johanna Sanchez (“plaintiffs”) from defendants
   27   Abercrombie & Kent, Inc. and American Express Travel Related Services
   28   (“defendants”).


                                                 31
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 40 of 51 Page ID #:192




    1                    With the instant motion, Plaintiffs seek to compel the depositions of
    2   eight (8) non-party witness without properly noticing the depositions pursuant to
    3   Federal Rules of Civil Procedure Rules 30(a)(1) and 45(d).
    4             On or about March 11, 2009, Plaintiffs improperly noticed the depositions
    5   of the following non-party witnesses, all of which Plaintiffs concede work and
    6   reside in Egypt (and some of which are not even identified by their full names):
    7             1.     John Muchiri
    8             2.     Ahmed Tawfeek;
    9             3.     Mahmoud Hagag;
   10             4.     Hossam Kotb;
   11             5.     Unis (Eunice);
   12             6.     John the driver;
   13             7.     Luca Belpietro; and
   14             8.     Martin the airplane pilot.
   15             On or about April 7, 2009, defendants, by and through their attorneys of
   16   record, objected to the deposition notices of the eight (8) witnesses on the grounds
   17   that plaintiffs failed to properly notice the depositions of the witnesses as none of
   18   them are directors, managers and/or agents of Abercrombie & Kent, Inc (“A&K,
   19   Inc.”).        These individuals are employed by the independent contractors,
   20   Abercrombie & Kent Egypt and Abercrombie & Kent Kenya, neither of which are
   21   parties to this action. As such, plaintiffs are required to compel the deposition by
   22   subpoena pursuant to the Federal Rule of Civil Procedure Rule 45(d), as these
   23   individuals were non-party witnesses.
   24                    As specifically stated in the Terms and Conditions of the vacation
   25   package purchased by Plaintiffs:
   26                    Abercrombie & Kent, Inc., its employees,
                         shareholders, officers, directors, successors, agents,
   27                    and assigns (collectively A&K) does not own or
                         operate any entity (except for American Adventures,
   28                    Inc.) which is to or does provide goods or services for


                                                      32
                                      LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 41 of 51 Page ID #:193




    1                the trip. It purchases transportation (by aircraft, coach,
                     train, vessel or otherwise), hotel and other lodging
    2                accommodations, restaurants, ground handling and
                     other services from various Independent suppliers
    3                (including from time to time other affiliated
                     Abercrombie & Kent companies). All such persons
    4                and entities are independent contractors. As a result,
                     A&K, Inc. is not liable for any negligent or willful
    5                act of any such person or entity or of any third person.
    6   (Emphasis added.)
    7
    8         Plaintiffs have presented no evidence that the eight (8) witnesses are
    9   employed by A&K, Inc. Plaintiffs merely contend that the individuals wore
   10   A&K, Inc. logos and represented themselves as A&K employees. As discussed
   11   below, the fact that employees in Kenya and Egypt use the same logo is not
   12   enough to establish that these witnesses are agents of A&K. Also, the fact that
   13   employees failed to inform plaintiffs that they were actually employed by A&K
   14   Kenya and A&K Egypt is not enough to support plaintiffs claim that A&K must
   15   produce these non-party witnesses. Defendants cannot be compelled to produce
   16   non-party witnesses from other countries to attend depositions in California.
   17         Furthermore, plaintiffs misplaced assertion that these non-party witnesses
   18   should be compelled to deposition in California is without merit. Plaintiffs set
   19   forth no legal authority to support their contention that defendants should be
   20   compelled to produce non-party witnesses who do not reside in California and are
   21   not employed in the state of California.
   22         Defendants respectfully request that this Court deny plaintiffs’ motion to
   23   compel as the eight (8) witnesses are not employees of defendant, Abercrombie &
   24   Kent, Inc. and plaintiffs have failed to properly notice the depositions of the non-
   25   party witnesses. Defendants further request that this Court deny plaintiffs request
   26   for evidentiary sanctions to preclude defendants from introducing testimony
   27   and/or evidences form any of these named out-of-country witnesses at trial.
   28   Finally, defendants request the imposition of monetary sanctions against plaintiffs



                                                   33
                                 LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 42 of 51 Page ID #:194




    1   equivalent to the reasonable attorneys’ fees incurred by defendants in opposing
    2   plaintiff’s unsupported and improper motion.
    3                 MEMORANDUM OF POINTS AND AUTHORITIES
    4   I. INTRODUCTION
    5         A.      Factual Background
    6         On May 28, 2008, plaintiffs, Richard Gallagher and Johanna Sanchez
    7   (“plaintiffs”) filed a complaint against defendants, American Express Travel
    8   Related Services Company and Abercrombie & Kent, Inc. (“defendants”) alleging
    9   causes of action for (1) Negligence, (2) Fraud, (3) Constructive Fraud, (4)
   10   Promissory Fraud, (5) Negligent Misrepresentation, and (6) Breach of Contract.
   11   This Complaint arises out of a Vacation Package purchased by plaintiffs from
   12   defendants.
   13         On or about November 7, 2007, plaintiffs purchased a vacation package to
   14   Africa from defendants. Plaintiffs allege that defendants failed to provide certain
   15   amenities that were agreed upon in the purchase of the vacation package. The
   16   vacation package also included a stay at Campi Ya Kanzi in Kenya, which is
   17   owned by Luca Belipietro. Plaintiffs further allege that they were attacked by
   18   baboons during their vacation and defendants failed to warn Plaintiffs of certain
   19   dangerous conditions, specifically, the baboons’ proclivity to attack.
   20         B.      Discovery Dispute
   21                 1.   The Subject Witnesses are Independent Contractors of
   22                      Abercrombie & Kent, Inc.
   23         On or about March 11, 2009, Plaintiffs improperly noticed the depositions
   24   of the following non-party witnesses, all of which Plaintiffs concede work and
   25   reside in Egypt (and some of which are not even identified by their full names):
   26   (1) John Muchiri; (2) Ahmed Tawfeek; (3) Mahmoud Hagag; (4) Hossam Kotb;
   27   (5) Unis (Eunice); (6) John the driver; (7) Luca Belpietro; and (8) Martin the
   28   airplane pilot.


                                                 34
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 43 of 51 Page ID #:195




    1           Abercrombie & Kent, Inc. (“A&K, Inc.”) is an Illinois corporation, that
    2   arranges and sells travel services and vacation packages. (Declaration of Brett
    3   Fichte [“Dec. of Fichte”] ¶ 3 ). A&K, Inc. is 100% owned by Abercrombie &
    4   Kent Group of Companies SA, Luxembourg. (Dec. of Fichte ¶ 3.)
    5           A&K, Inc. sold the subject vacation package to defendant, American
    6   Express Travel Related Services (“American Express”). Plaintiffs’ purchased the
    7   vacation package from American Express. As part of plaintiffs’ Itinerary, they
    8   were provide tours, transportation and hotel accommodations.
    9           None of the eight (8) non-party witnesses whose depositions plaintiff’s seek
   10   to compel, and each of whom reside and work in Egypt or Kenya, are directors,
   11   officers or employees of A&K, Inc. (Dec. of Fichte ¶¶ 10-17.)     As the Terms and
   12   Agreements of plaintiffs vacation package expressly states:
   13               Abercrombie & Kent, Inc., its employees,
                    shareholders, officers, directors, successors, agents,
   14               and assigns (collectively A&K) does not own or
                    operate any entity (except for American Adventures,
   15               Inc.) which is to or does provide goods or services for
                    the trip. It purchases transportation (by aircraft, coach,
   16               train, vessel or otherwise), hotel and other lodging
                    accommodations, restaurants, ground handling and
   17               other services from various Independent suppliers
                    (including from time to time other affiliated
   18               Abercrombie & Kent companies). All such persons
                    and entities are independent contractors. As a result,
   19               A&K, Inc. is not liable for any negligent or willful
   20               act of any such person or entity or of any third
                    person.
   21   (Empasis added). (Declaration of Rachel Menkes,[“Decl. of Menkes”] ¶ 5, Exhibit
        D.)
   22
   23           As set forth in the Terms and Conditions, A&K, Inc. uses independent

   24   contractors to arrange and/or provide the actual tour components, such as hotel

   25   accommodations, meals, transportation, and local guide services. (Dec. of Fichte

   26   ¶ 5.)    Abercrombie & Kent Egypt for Tourism SAE and Abercrombie & Kent

   27   Kenya Ltd are two such independent contractors. (Dec. of Fichte ¶ 6.) A&K,

   28   Inc. does not own, operate, or control Abercrombie & Kent Egypt for Tourism



                                                 35
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 44 of 51 Page ID #:196




    1   SAE or Abercrombie & Kent Kenya Ltd.,             both of which are independent
    2   contractors and separate entities not affiliated with A&K, Inc. (Dec. of Fichte ¶
    3   6.)
    4         Abercrombie & Kent Egypt for Tourism SAE and Abercrombie & Kent
    5   Kenya Ltd are also 100% owned by Abercrombie & Kent Group of Companies
    6   SA, Luxembourg. There is no cross-sharing among A&K, Inc. and Abercrombie
    7   & Kent Egypt for Tourism SAE or Abercrombie & Kent Kenya Ltd. Campi Ya
    8   Kanzi is also independent contractor and a separate entity which is not affiliated
    9   with A&K, Inc. (Dec. of Fichte ¶ 8.) A&K, Inc. does not own, operate, or
   10   control Campi Ya Kanzi. It is an independent contractor, (Dec. of Fichte ¶ 8.)
   11         A&K, Inc. arranged for Abercrombie & Kent Egypt for Tourism SAE and
   12   Abercrombie & Kent Kenya Ltd           to provide transportation and other land
   13   arrangements for plaintiffs while they were in Kenya and Egypt. (Dec. of Fichte ¶
   14   9.)   A&K, Inc. does not employ any individuals in Kenya or Egypt. (Dec. of
   15   Fichte ¶ 9.) All services in Egypt and Kenya were provided by the independent
   16   contractors. (Dec. of Fichte ¶ 9.) A&K, Inc. is not liable for any negligent or
   17   willful act of any such person or entity or of any third person, including the
   18   actions of independent contractors affiliated with Abercrombie & Kent Egypt for
   19   Tourism SAE and Abercrombie & Kent Kenya Ltd and/or and Campi Ya Kanzi.
   20   (Decl. of Menkes ¶ 5, Exhibit D.)
   21                2. Plaintiffs Improperly Seek to Compel the Depositions on Non-
   22                   Party Witnesses Who Reside in Egypt and Kenya.
   23         On or about March 11, 2009, plaintiffs improperly noticed the depositions
   24   of eight (8) witnesses, which are the subject of this motion. All eight witnesses
   25   work for independent contractors in Egypt and Kenya and all witnesses reside in
   26   Egypt and Kenya. Four of the eight deposition notices do not even provide the
   27   witnesses’ full name. The parties have met and conferred and plaintiffs continue
   28


                                                 36
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 45 of 51 Page ID #:197




    1   to refuse to withdraw their improper deposition notices. A summary of the meet
    2   and confer efforts are as follows:
    3         On or about April 7, 2009, defendants, through their attorney of record, sent
    4   plaintiffs’ a request to Meet and Confer, pursuant to Central District Local Rule
    5   37-1 regarding the notices of the eight (8) witnesses on the grounds that the
    6   depositions of the non-party witnesses were improperly noticed. (Dec. of Menkes
    7   ¶ 2.) Defendants informed plaintiffs that the individual witnesses were not the
    8   directors, managers and/or agents of A&K, Inc.            (Dec. of Menkes ¶ 2.)
    9   Specifically, the witnesses were employed by independent contracts, therefore,
   10   plaintiffs must subpoena these deposition pursuant to Federal Rules of Civil
   11   Procedure Rules 30(a)(1) and 45(d). (Dec. of Menkes ¶ 2.) As defendants do not
   12   maintain control over the independent contractors, they cannot be compelled to
   13   produce the non-party witnesses.
   14         On April 10, 2009, plaintiffs responded to defendants Meet and Confer
   15   Letter and stated that they would take the deposition notices of Luca Belipietro,
   16   owner of Campi Ya Kanzi, and Martin the Pilot off calendar so long as defendants
   17   “stipulated to exclude any evidence from them, or any one associated Campi Ya
   18   Kanzi.” (Dec. of Menkes ¶ 3.) Plaintiffs also stated that they were willing to
   19   travel to Kenya and Egypt to conduct the depositions of the employees of
   20   Abercrombie & Kent Egypt and Kenya so long as defendants could guarantee
   21   their safety and legality of taking the depositions in Egypt and Kenya. (Dec. of
   22   Menkes ¶ 3.)
   23         On April 23, 2009, defendants informed plaintiffs that their position
   24   “continues to be that [the] notices were improperly served.”      Defendants also
   25   “encouraged plaintiffs to withdraw the improper Deposition Notices of the non-
   26   party witnesses.” (Dec. of Menkes ¶ 4.)
   27         Plaintiffs now seeks to compel the depositions of non-party witnesses
   28   without properly noticing their deposition.      As such, defendants respectfully


                                                37
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 46 of 51 Page ID #:198




    1   request that this court deny plaintiffs motion to compel and requests the
    2   imposition of monetary sanctions against plaintiffs equivalent to the reasonable
    3   attorneys’ fees incurred by defendants in opposing plaintiff’s unsupported and
    4   improper motion.
    5   II.   ARGUMENT
    6         A.     Plaintiffs’   Cannot     Compel      Defendants   to   Produce     the
    7                Depositions of Non-party Witnesses Employed by Independent
    8                Contractors
    9         Plaintiffs demand that this court compel defendants to produce eight (8)
   10   witness that are not the directors, employees, or agents of the defendants.     The
   11   District Court has held in directly similar cases that A&K Egypt and A&K Kenya
   12   are separate entities from A&K International, Inc.
   13         In Dow v. Abercrombie & Kent International, Inc., 2000 U.S. Dist. Lexis
   14   7290 (N.D. Illinois 2000), the Court granted A&K International, Inc.’s motion for
   15   summary judgment as plaintiffs failed to establish that A&K International, Inc.
   16   had control over the services provided to plaintiffs while in Kenya. In Dow, the
   17   plaintiffs claimed that A&K Kenya was not an independent contractor, but
   18   actually an agent of A&K International. The Court held that A&K Kenya was not
   19   an agent of A&K International and that “the Dows fail[ed] to offer evidence
   20   supporting a reasonable inference that A&K International controlled A&K Kenya
   21   or established A&K Kenya as its apparent agent.” (Id. at 21.) The Court stated
   22   that “the use of the same logo does not establish agency” (Id. at 12) and that
   23   “[r]eferences to branch offices and the statement that ‘A&K’ manages and
   24   controls ‘the product line’ or ‘agents’ are simply too vague to support an inference
   25   of actual control by A&K International over A&K Kenya.”                (Id. at 14.)
   26   Furthermore, the Court noted that plaintiffs argument that the two companies
   27   shared a website was insufficient to prove A&K International had control over
   28   A&K Kenya. (Id. at 16.)


                                                 38
                                   LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 47 of 51 Page ID #:199




    1         Similarly, in Paredes v. Abercrombie & Kent International, Inc., 81 F.
    2   Supp. 2d 162(D. Mass. 1999) the Court held that A&K International, Inc. was not
    3   a sister company of A&K Egypt. The Court held that “A&K Int'l is not liable for
    4   A&K Egypt's alleged negligence because they have similar names” and that “the
    5   distribution of marketing material by A&K Int'l in which there is no
    6   differentiation between A&K Int'l and A&K Egypt is insufficient to impute
    7   liability to A&K Int'l.” Id. 166.
    8                Like Dow and Paredes, A&K, Inc. does not own, operate, or control
    9   A&K Kenya or A&K Egypt. The mere fact that the companies share the same
   10   logos or website is insufficient to impute control by A&K, Inc. over the
   11   employees of A&K Kenya or A&K Egypt.               The Terms and Conditions of
   12   plaintiffs’ itinerary specifically states that “[A&K] purchases transportation (by
   13   aircraft, coach, train, vessel or otherwise), hotel and other lodging
   14   accommodations, restaurants, ground handling and other services from various
   15   Independent suppliers (including from time to time other affiliated Abercrombie
   16   & Kent companies).” In Dow, the exact same language was included in plaintiffs
   17   itinerary and the court noted that “[t]his language disclaims A&K International's
   18   liability for the negligence of independent contractors, and cannot be ignored.”
   19   (Dow, supra, 2000 U.S. Dist. Lexis at 19.) Here, like in Dow, this Court cannot
   20   ignore the statement in the Terms and Conditions which clearly states that A&K,
   21   Inc. does not provide or control the services provided by independent contractors.
   22         A&K, Inc. does not have control over the subject witnesses, nor has
   23   plaintiffs produced such evidence to show A&K, Inc. controls these witnesses.
   24   At the time of the subject vacation, witnesses (1) John Muchiri, (2) Ahmed
   25   Tawfeek, (3) Mahmoud Hagag, (4) Hossam Kotb, (5) Unis, and (6) John the
   26   Driver were employed by A&K Egypt or A&K Kenya. As addressed above, these
   27   companies are independent contractors that are not owned, operated or controlled
   28


                                                39
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 48 of 51 Page ID #:200




    1   by A&K, Inc. Therefore, A&K, Inc. cannot be compelled to produce individuals
    2   who are not directors, managers, or agents of its company.
    3                Furthermore, witness Luca Belipietro is the owner of CampiYa
    4   Kanzi in Kenya. A&K,Inc. does not own, control, or operate Campi Ya Kanzi.
    5   Therefore, A&K, Inc. cannot be compelled to produce an individual which is has
    6   no control over.   Additionally, Martin the Airplane Pilot is employed by an
    7   independent contractor and A&K, Inc. cannot be compelled to produce a non-
    8   party witness.
    9                Plaintiffs have produced no legal authority supporting their
   10   contention that defendants controlled the subject witnesses. As addressed above,
   11   A&K Egypt and A&K Kenya are not owned, operated or controlled by A&K, Inc.
   12   and the mere fact that the employees failed to distinguish themselves as A&K
   13   Egypt or A&K Kenya is insufficient to support a claim that A&K, Inc. had control
   14   over the individuals. Therefore, plaintiffs cannot establish that defendants control
   15   the subject witness and defendants cannot be ordered to produce those third-party
   16   witnesses for deposition.
   17         B.     Plaintiffs Have Failed to Properly Notice the Depositions of the
   18                Non-Party Witnesses
   19         Under Federal Rules of Civil Procedure Rule 30(a)(1): “A party may, by
   20   oral questions, depose any person, including a party, without leave of court except
   21   as provided in Rule 30(a)(2). The deponent's attendance may be compelled by
   22   subpoena under Rule 45.”
   23         “Pursuant to Federal Rules of Civil Procedure Rule 45(d), the procedure for
   24   deposing a nonparty witness is to file a Notice of Deposition in the district where
   25   the action is pending, noticing the deposition of a witness, obtained a certified
   26   copy of the Notice of Deposition from that district, file the Notice of Deposition
   27   with the United States District Court of the district where the witness resides, and
   28   obtain a subpoena from that second district directing the witness to attend the


                                                  40
                                    LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 49 of 51 Page ID #:201




    1   deposition within 100 miles of the witness' residence.” In re Texas International
    2   Co. (1989) 97 B.R. 582, 585.      Additionally, pursuant to Federal Rule of Civil
    3   Procedure 45(b)(3) if “the witness is overseas, the procedures of the Hague
    4   Convention or other applicable treaty must be utilized.” United States v. Afram
    5   Lines, Ltd., 159 F.R.D. 408, 413 (S.D.N.Y. 1994).
    6         Here, plaintiffs seek to compel the deposition of non-party witnesses
    7   without complying with Federal Rule of Civil Procedure Rule 45(d). Plaintiffs
    8   personally served defendants with the notice of depositions for the non-party
    9   witnesses. Defendants informed plaintiffs that the notice of depositions were not
   10   proper, specifically, that the witnesses were employees of independent contractors
   11   who were not parties to the action. Plaintiffs, however, failed to withdraw the
   12   depositions and obtain subpoenas directing the non-party witnesses to attend the
   13   deposition.
   14         As discussed above, these non-party witnesses reside in Kenya and Egypt.
   15   Plaintiffs therefore must compel the non-party witnesses pursuant to Federal Rule
   16   of Civil Procedure 45(b)(3). Plaintiffs have failed to comply and cannot compel
   17   the depositions of the non-party witnesses.
   18         Plaintiffs also seek to compel the non-party witnesses to attend a deposition
   19   in California. Plaintiffs have provided no legal authority to support its claim that
   20   this court should compel non-party witnesses to be deposed in California.
   21   Plaintiffs cites to Hyde & Drath v. Baker, 24 F.3d 1162, 1165 (9th Cir. 1994) to
   22   support the contention that defendants have filed suit in the District of California,
   23   therefore, they should be compelled to conduct depositions in California.
   24   However, this argument is misplaced as the non-party witnesses are not
   25   employees of defendants and do not conduct business in the United States.
   26         Plaintiffs further contend that the depositions should be taken in California
   27   because it would be difficult to secure the depositions in a manner that is prompt,
   28   efficient, and effective as that contemplated by the Federal Rules of Civil


                                                 41
                                  LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 50 of 51 Page ID #:202




    1   Procedure. (Plaintiffs’ Motion to Compel at p. 28, lines 4-10.) Again, Plaintiffs
    2   provide no legal authority to support the contention that this Court should compel
    3   non-party witness, who reside and work in foreign countries to be compelled to
    4   the United States for a depositions. As such, this Court should deny plaintiffs
    5   request to compel the depositions of the non-party witnesses.
    6          C.    Plaintiffs Should be Sanctioned for Bringing Forth this Motion
    7          Pursuant to Federal Rule of Civil Procedure 37(a)(5)(b) if a party files a
    8   motion to compel and “[i]f the motion is denied, the court may issue any
    9   protective order authorized under Rule 26(c) and must, after giving an opportunity
   10   to be heard, require the movant, the attorney filing the motion, or both to pay the
   11   party or deponent who opposed the motion its reasonable expenses incurred in
   12   opposing the motion, including attorney's fees.”
   13          Defendants, therefore, respectfully request that this Court order monetary
   14   sanctions against plaintiffs for bringing this Motion to Compel.       Additionally,
   15   defendants request that this Court deny plaintiffs’ request for sanctions pursuant
   16   to Federal Rule of Civil Procedure 37(d)(1)(A)(i) and 37(d)(2) as plaintiffs did not
   17   properly notice the depositions of the non-party witnesses and defendants have
   18   not refused to produce its managers, directors, or agents from being deposed.
   19          Defendants, therefore, request monetary sanctions in the amount of $3,075
   20   for expenses incurred for opposing plaintiffs’ motion to compel. (Menkes Decl. ¶
   21   6).
   22   III.   CONCLUSION
   23          Plaintiffs seek to compel defendants to produce individual witnesses that
   24   are not managers, directors, or officers of defendants. The subject witnesses are
   25   employed by independent contractors. A&K Inc. does not own, operate, and/or
   26   control the independent contractors and cannot be compelled to produce
   27   employees of the independent contractors.          Furthermore, plaintiffs failed to
   28   comply with the Federal Rules of Civil Procedure and have not properly noticed


                                                42
                                 LOCAL RULE 37-1 JOINT STIPULATION
Case 8:08-cv-00743-AG-RNB Document 18 Filed 05/26/09 Page 51 of 51 Page ID #:203




    1   the depositions of the non-party witnesses. Therefore, plaintiffs motion to compel
    2   must be denied.
    3         As set forth herein, defendants respectfully request that this Court deny
    4   plaintiffs’ Motion to Compel in its entirety.   Defendants also request that this
    5   Court deny plaintiffs request to issue evidentiary sanctions. Finally, defendants
    6   request that this Court order plaintiffs to pay defendants for costs incurred in
    7   opposing the Motion to Compel.
    8
    9                                  Respectfully Submitted ,
   10
        Dated: May 26, 2009            WANG, HARTMANN, GIBBS,& CAULEY
   11
   12
   13                                  By:    /s/Jason B. Witten
                                              Jeffrey C. P. Wang, Esq.
   14                                         Jason B. Witten, Esq.
   15                                         Attorneys for Plaintiffs
   16
   17   Dated: May 26, 2009            LEWS BRISBOIS BISGAARD & SMITH
   18
   19                                  By:    /s/ Rachel W. Menkes
                                              Esther P. Holm (SBN 140279)
   20                                         Rachel W, Menkes (SBN 233938)
                                              Attorneys for Defendants
   21
   22
   23
   24
   25
   26
   27
   28


                                               43
                                 LOCAL RULE 37-1 JOINT STIPULATION
